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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


ANTHONY HART,

              Plaintiff,                     Case No: 16-cv-10253
                                             Hon. Denise Page Hood
vs.                                          Mag. Judge: Elizabeth A. Stafford

HILLSDALE COUNTY, a Municipal
Corporation; AGENTS CHRISTINE
WAHTOLA, KWINN LEVA, LT. TIMOTHY             Stipulation and Order
PARKER; CITY OF HILLSDALE and                for the Dismissal of
OFFICERS SHELBY RATHBUN and                  Kimberley Burger and
OFFICER TODD HOLTZ; MICHIGAN                 Parker, Hayes & Lovinger
STATE POLICE ANALYSTS MELISSA
MARINOFFAND MARCI KELLY, in       their
individual capacities; WATCH SYSTEMS,
L.L.C., a Louisana Corporation; and
ATTORNEY KIMBERLEY BURGER, KB
LAW OFFICE, P.C. AND PARKER, HAYES,
& LOVINGER P.C. all jointly and severally,

              Defendants.


                STIPULATION AND ORDER OF DISMISSAL

      This matter having come before the Court upon stipulation of the Parties,

      IT IS HEREBY ORDERED that Plaintiff’s claims against Kimberley Burger

and Parker, Hayes & Lovinger, PC only, are dismissed with prejudice and

without costs. This order has no effect on plaintiff’s claims against the
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remaining defendants: County of Hillsdale, Christine Wahtola, Kwinn Leva,

Lt. Timothy Parker, City of Hillsdale, Officers Shelby Rathbun and Todd

Holtz, Michigan State Police Analysts Melissa Marinoff and Marci Kelley,

and Watch Systems, LLC.

   This does not resolve the last pending claim and does not close the case.

                        S/Denise Page Hood
                        Denise Page Hood
                        Chief Judge, United States District Court

   Dated: January 25, 2017

   I hereby certify that a copy of the foregoing document was served upon
counsel of record on January 25, 2017, by electronic and/or ordinary mail.

                        S/LaShawn R. Saulsberry
                        Case Manager

Stipulated to as to form and content:


/s/ David M. Black *                  /s/ Colleen H. Burke
David M. Black (P25047)               Colleen H. Burke (P63857)
Attorney for Plaintiff                Attorney for Defendants Burger and
*signed with permission – 1.20.17         Parker, Hayes & Lovinger, PC
